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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x

DONNA WOOD, et al., individually and
on behalf of all others similarly situated,

                          Plaintiffs,

        -v-                                                      No. 1:20-CV-2489-LTS-GWG

MIKE BLOOMBERG 2020, INC.,

                          Defendant.

-------------------------------------------------------x


         ORDER CERTIFYING MATTER TO THE ATTORNEY GENERAL OF THE UNITED STATES

                The Court has received and reviewed the Notice of Constitutional Question
Pursuant to Fed. R. Civ. P. 5.1 (docket entry no. 483) filed by Mike Bloomberg 2020, Inc. (the
“Campaign” or “Defendant”), providing notice that its memoranda of law in support of its
motions to decertify the collective (docket entry no. 433) and for summary judgment (docket
entry no. 445) raise constitutional challenges. Specifically, the Campaign asserts that it would
violate the First Amendment to the Constitution to require the Campaign to pay Plaintiffs, who
are former field organizers for the Campaign, overtime under state and federal statutes.

                Where “[a] party . . . files a pleading, written motion, or other paper drawing into
question the constitutionality of a federal or state statute,” the Federal Rules of Civil Procedure
mandate that the Court certify the constitutional challenge to the Attorney General of the United
States “or on the state attorney general if a state statute is questioned.” Fed. R. Civ. P. 5.1.

                 It is hereby ORDERED that the Campaign’s challenge to the constitutionality of
Fair Labor Standards Act of 1938, 29 U.S.C. §§ 201, et seq., as applied to political campaigns, is
certified to the Attorney General of the United States; and it is further

                ORDERED that the Campaign’s challenge to the constitutionality of
New York Labor Law Article 6, § 190 et seq., Article 19, § 650 et seq., and N.Y. Comp. Codes
R. & Regs. tit. 12, § 142-2.2, as applied to political campaigns, is certified to the Attorney
General of the State of New York; and it is further

               ORDERED that the Campaign’s challenge to the constitutionality of
California Wage Order Nos. 4-2001 & 7-2001, Cal. Lab. Code §§ 510, 512, 1194, 1198,
California Business & Professions Code §§ 17200 et seq., and California Private Attorney
General Act of 2004 (“PAGA”) (Cal. Labor Code §§ 2698 et seq.), as applied to political
campaigns, is certified to the Attorney General of the State of California; and it is further


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                ORDERED that the Campaign’s challenge to the constitutionality of
Michigan Workforce Opportunity Wage Act (Mich. Comp. Laws §§ 408.414a; 408.412), as
applied to political campaigns, is certified to the Attorney General of the State of Michigan; and
it is further

               ORDERED that the Campaign’s challenge to the constitutionality of
Wis. Stat. §§ 103 and 104, and Wis. Admin. Code § DWD 274.03, as applied to political
campaigns, is certified to the Attorney General of the State of Wisconsin; and it is further

                 ORDERED that the Campaign’s challenge to the constitutionality of
Illinois Minimum Wage Law (820 ILCS 105/1 et seq.), as applied to political campaigns, is
certified to the Attorney General of the State of Illinois; and it is further

                 ORDERED that the Campaign’s challenge to the constitutionality of
Minnesota Fair Labor Standards Act (Minn. Stat. §§ 177.23, 177.25) and Minn. R. 5200 et seq.,
as applied to political campaigns, is certified to the Attorney General of the State of Minnesota;
and it is further

               ORDERED that the Campaign’s challenge to the constitutionality of
North Carolina Wage and Hour Act (N.C. Gen. Stat. Ann. § 95-25.1 et seq.), as applied to
political campaigns, is certified to the Attorney General of the State of North Carolina; and it is
further


              ORDERED that the Clerk of this Court shall forward a copy of this Order and the
Complaint to the Attorney General of the United States and State Attorneys General of New
York, California, Michigan, Wisconsin, Illinois, Minnesota, and North Carolina.


       SO ORDERED.

Dated: May 28, 2024

                                                               /s/ Laura Taylor Swain
                                                              LAURA TAYLOR SWAIN
                                                              United States District Judge
Mail to:
Office of the Attorney General of the United States
86 Chambers Street, 3rd Floor
New York, New York 10007

Assistant Attorney General for Administration
U.S. Department of Justice, Justice Management Division
950 Pennsylvania Avenue, NW, Room 1111
Washington, DC 20530


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Office of the New York State Attorney General
The Capitol
Albany, NY 12224-0341

Attorney General’s Office
California Department of Justice
P.O. Box 944255
Sacramento, CA 94244-2550

Michigan Department of Attorney General
P.O. Box 30212
Lansing, MI 48909

Wisconsin Department of Justice
P.O. Box 7857
Madison, WI 53707-7857

Office of the Illinois Attorney General
500 South Second Street
Springfield, IL 62701

Office of Minnesota Attorney General Keith Ellison
445 Minnesota Street, Suite 1400
St. Paul, MN 55101-2131

North Carolina Attorney General
114 West Edenton Street
Raleigh, NC 27603




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